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6
7                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WASHINGTON
8
9 UNITED STATES OF AMERICA,                        No. 2:23-cr-00022-RMP

10                               Plaintiff,        RESPONSE TO DEFENDANT’S
11                                                 MOTION TO CONTINUE
                        v.                         PRETRIAL CONFERENCE AND
12                                                 JURY TRIAL
13 JODY LEE WALLETTE,
14                               Defendant.
15
            Plaintiff, United States of America, by and through Vanessa R. Waldref, United
16
     States Attorney for the Eastern District of Washington, and Caitlin A. Baunsgard,
17
     Assistant United States Attorney for the Eastern District of Washington, submits the
18
     following Response to Defendant’s Motion to Continue Pretrial Conference and Jury
19
     (ECF No. 18).
20
            The United States has no objection to the defendant’s motion to continue
21
     pretrial and jury trial dates.
22
                                                            Vanessa R. Waldref
23                                                          United States Attorney
24
                                                            s/ Caitlin A. Baunsgard
25                                                          Caitlin A. Baunsgard
26                                                          Assistant U.S. Attorney

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28
     United States’ Response to Defendant’s Motion to Continue - 1
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1
                                CERTIFICATE OF SERVICE
2
3          I hereby certify that on April 26, 2023, I electronically filed the foregoing with
4 the Clerk of the Court using the CM/ECF System which will send notification of such
5 filing to the counsel of record.
6
7
8
9                                           s/ Caitlin A. Baunsgard
10                                          Caitlin A. Baunsgard
                                            Assistant United States Attorney
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     United States’ Response to Defendant’s Motion to Continue - 2
